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UNITED STATES OF AMERICA
     v.                              CRIMINAL NO. 2007-10210-JLT-01
JEFF JEAN-CHARLES,
      Defendant.


          ORDER PURSUANT TO
         UNITED STATES V. KING,
   818 F.2d 112, 115, footnote 3 (1 Cir.,
1987)

COLLINGS, U.S.M.J.
      The defendant appeared before the undersigned on June 21, 2007. He
was represented by counsel. The Government moved for a detention hearing.
The defendant is currently held in state custody awaiting trial on criminal
charges which have been brought against him. Accordingly, all parties agreed
to continue the detention hearing in the instant case until such time as the
defendant is released from state custody in accord with the protocol set forth
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in   United States v. King  , 818 F.2d 112, 115, footnote 3 (1 Cir., 1987).
        I rule that the defendant has waived his right to have a detention hearing
at his first appearance in this case.   Id.   It is ORDERED that the detention hearing
be, and the same hereby is, CONTINUED GENERALLY. It is FURTHER
ORDERED that the defendant be, and he hereby is, DETAINED pending the
detention hearing.    See    18 U.S.C. § 3142 ("During a continuance, the defendant
shall be detained...".). The U.S. Marshal is ORDERED to lodge a detainer
against the defendant with the state authorities on the basis of the within Order.
        Review of the within Detention Order may be had by the defendant filing
a motion for revocation or amendment of the within Order pursuant to 18
U.S.C. Sec. 3145(b).


                                          /s/ Robert B. Collings
                                          ROBERT B. COLLINGS

                                          United States Magistrate Judge

June 21, 2007.
